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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK
       ------------------------------:

       CATHERINE McKOY, MARCUS              : Case No.: 18-CV-9936

       FRAZIER AND LYNN CHADWICK,           :

                              Plaintiffs,:

             v.                             :

       THE TRUMP CORPORATION and            : New York, New York

       DONALD J. TRUMP,                     : June 22, 2023

                              Defendants.:

       ------------------------------:



               TRANSCRIPT OF STATUS CONFERENCE HEARING

                  BEFORE THE HONORABLE SARAH L. CAVE

                     UNITED STATES MAGISTRATE JUDGE




       APPEARANCES:

       For Plaintiff:              KAPLAN HECKER & FINK LLP
                                   BY: John C. Quinn, Esq.
                                   350 Fifth Avenue
                                   New York, New York 10118



       For Defendant:              LEWIS BRISBOIS BISGAARD & SMITH
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       Proceedings recorded by electronic sound recording;
       Transcript produced by transcription service.



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  1                  THE COURT:     Good morning.     This is

  2    Magistrate Judge Cave.        We're here for a conference

  3    in McKoy versus Trump Corporation; Case Number

  4    18-cv-9936.

  5                  May I have appearances starting with the

  6    plaintiff, please.

  7                  MR. QUINN:     Good morning, Your Honor.

  8    John Quinn from Kaplan Hecker & Fink on behalf of

  9    the plaintiff.

10                   THE COURT:     Good morning.

11                   MR. SHAPIRO:     Good morning.      This is

12     Peter Shapiro from Lewis Brisbois for defendants.

13                   THE COURT:     Okay.   Very good.     Good

14     morning.

15                   Anyone else who wishes to state their

16     appearance?

17                   (No verbal response)

18                   Okay.   Very good.     So we're here on the

19     plaintiffs' letter regarding affidavits from four

20     individuals that were submitted in connection with

21     defendants' summary judgment motion.           And it sounds

22     like, Mr. Quinn, you're seeking permission to depose

23     each of those people.        So sounds like, despite my

24     warnings and best efforts, we're right where I

25     warned everybody that we might be.


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  1                  So let me first ask, Mr. Quinn, in the

  2    defendants' letter, they say that these declarations

  3    or affidavits from the four individuals were

  4    provided to you in November 2022 along with

  5    Mr. Peterson's report.        Is that, in fact, the case?

  6                  MR. QUINN:     That is correct, Your Honor.

  7    Yes, they were disclosed as exhibits in connection

  8    with expert discovery.

  9                  THE COURT:     Okay.   So that, combined with

10     the fact that Mr. Shapiro, two days after my

11     September 27th order, miraculously updated his

12     initial disclosures to list these four people, that

13     didn't tip you off of exactly what was going to

14     happen here?

15                   MR. QUINN:     You know, I think we

16     certainly knew that there was a chance -- probably a

17     good chance -- that they would seek leave to -- or

18     that they would put these in on a dispositive

19     motion.    It was certainly possible they would use

20     them to support, you know, solely as reference

21     materials for their experts, and we deposed the

22     experts about that.        But, you know, as the Court

23     noted in the September 27th order, the question of

24     whether they should be deposed -- and I'm quoting

25     now, I think, from the third page of that -- becomes


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  1    ripe only in the event that either party seeks to

  2    call them as a witness at trial, and then the Court

  3    went on to say, you know, or use them as a

  4    dispositive motion.

  5                  So when these were disclosed during

  6    expert discovery, we thought the appropriate course

  7    was to question the experts about them, which we

  8    did.     And, you know, that order had made, in our

  9    view, pretty clear that should they subsequently be

10     used on a dispositive motion or at trial, we then

11     have an opportunity to seek leave to depose them.

12     And with that in place, we, you know, waited until

13     it ripened in the way that the Court described in

14     that order.

15                   THE COURT:    All right.     So I've looked at

16     the declarations, and they're thin, to put it

17     charitably.     Do you really need to depose all four

18     of them?

19                   MR. QUINN:    You know, frankly, it's hard

20     to know what any one of them may say or what we may

21     see in an IBO file about any of them, so certainly

22     that would be our preference.         But, again, you know,

23     we proposed half-day depositions.          We can seek to do

24     those in an even shorter period of time, seek to do

25     these virtually.      But, you know, each of these


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  1    people does talk about their experience, what they

  2    heard, their impressions of ACN, et cetera.            And if

  3    they're going to be witnesses that the defendants

  4    are relying on pretty centrally in their defense,

  5    which now seems clear, we would want an opportunity

  6    to depose each of them ahead of trial.

  7                  THE COURT:    Okay.    And then is this

  8    purely for purposes of -- I mean, your replies --

  9    the replies on summary judgment are due tomorrow, so

10     there's no chance of this being material to the

11     summary judgment motions.        This is just for use if

12     these people are, in fact, called at trial so you

13     have a deposition transcript with which to impeach

14     them or something else.

15                   MR. QUINN:    Exactly.    And also just the

16     opportunity to discover a little more fully what it

17     is they might say and what their experience was.

18                   But, yeah, trying to balance a number of

19     factors, including, you know, really wanting to

20     adhere to the schedule and not, you know, slide off

21     of it, we came to the view that, you know, we had a

22     pretty tight opposition period for summary judgment.

23     We didn't want to adjourn that.         There was no

24     realistic way for us to get these people deposed

25     and, you know, marshal briefs and 56.1s and all of


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  1    that in three weeks, and really didn't want any

  2    adjournment.

  3                  So our approach to summary judgment --

  4    you know, frankly, I think our argument is the

  5    existence of a few exceptions really shouldn't

  6    change the analysis on a summary judgment standard,

  7    but, you know, approaching trial, if these folks are

  8    going to be witnesses, we would want an opportunity

  9    in that context.      So that's correct, Your Honor.           We

10     don't -- we are not getting another brief on summary

11     judgment that we're aware of.          We don't think you --

12                   THE COURT:    No.     No, you're not.

13                   MR. QUINN:    -- in connection with --

14     exactly.    Understood and --

15                   THE COURT:    I'm sure you're not.

16                   MR. QUINN:    -- wouldn't want one.

17                   THE COURT:    I'm sure you're not.

18                   MR. QUINN:    Yeah, understood.

19                   THE COURT:    Okay.     Okay.   At any rate,

20     Judge Schofield set that schedule and the trial

21     schedule, and that's not -- certainly not in my

22     province to tamper with that.          And if you want to

23     keep your January trial date, I'm sure you want to

24     keep the summary judgment schedule that you have as

25     well.    Okay.


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  1                  So, Mr. Shapiro, how is what the

  2    defendants did here not, sort of, sandbagging and,

  3    kind of, undermining the spirit of my order

  4    intending to prevent where we are right now?

  5                  MR. SHAPIRO:     Thank you, Your Honor.

  6                  I think, as you pointed out, these

  7    individuals were disclosed quite some time ago, as

  8    was their testimony.       There shouldn't have been any

  9    mystery that they were going to be witnesses.            And

10     we found it surprising that there was no effort to

11     depose them, even though fact discovery was ending

12     right about when they were disclosed.           We certainly

13     would have agreed to, you know, a reasonable

14     extension just for the purpose of deposing them at

15     that time.     But here we are, many months down the

16     road with briefing having been done.

17                   If there was any doubt that we were going

18     to use them on summary judgment, that doubt should

19     have been removed when we used them on class

20     certification.      So we think that this is just an

21     improper attempt to keep discovery going ad

22     infinitum.     And, you know, enough is enough, as far

23     as we're concerned, in a case that started in 2018.

24                   I will say that if there's any

25     inclination to allow these depositions to go


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  1    forward, at a minimum, they should only go forward

  2    after the pending motions are decided because,

  3    potentially, the whole case may go away and nobody

  4    will be a trial witness.        So why have everyone

  5    undergo the expense and inconvenience of having

  6    these people deposed when the whole thing might be

  7    mooted?

  8                  THE COURT:    Well, I'm not sure that that

  9    makes a lot of sense from an efficiency standpoint.

10     The summary judgment motions are not before me, but

11     it doesn't seem efficient to, sort of, wait and see

12     because then you're going to be on a rush --

13     whatever's left of the case will be on a rush to get

14     ready for trial.      And then you'll have the same

15     objection that, you know, the parties don't have

16     time and it's inconvenient for the witnesses and all

17     that.     It seems like we have a lot more time now,

18     between now and January to get these done.

19                   Like I said, they're not, obviously,

20     going to be material to the summary judgment

21     submissions because those are basically done.            And

22     so I'm not sure that I agree with that being an

23     appropriate rationale to deny the plaintiffs'

24     request.

25                   Have you made a determination yet,


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  1    Mr. Shapiro, whether you do, in fact, intend to rely

  2    on any of these four witnesses at trial?

  3                  MR. SHAPIRO:     That would certainly be our

  4    intent, yes.

  5                  THE COURT:     Okay.   Okay.   All right.

  6    Well, then I think what is fair is consistent with

  7    what I said back in September, which is if the

  8    defendants are going to rely on them, that the

  9    plaintiffs have an opportunity to depose them.             You

10     know, I do think that the plaintiffs could have

11     asked about this earlier, as I said, given the

12     history here, the -- and the plaintiffs have

13     certainly been particularly skeptical of a lot of

14     the things that the defendants have done in this

15     case.    And why they weren't as skeptical of what was

16     going on here between the supplemental initial

17     disclosures and then attaching the declarations to

18     Mr. Peterson's report would have seemed to have

19     given an indication that this is where we were

20     headed, but I agree with what Mr. Quinn said, that

21     what my order provided was that if the witnesses

22     were going to be used in support of a dispositive

23     motion and/or a trial, that's when the trigger for

24     renewing the question of deposing them would arise.

25     And, obviously, that didn't occur until more


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  1     recently.

  2                  So I am willing to allow -- I am going to

  3     allow the plaintiffs to take the depositions of

  4     these four people, but consistent with what

  5     Judge Schofield typically does, that we're going to

  6     put a very circumscribed limit around the number of

  7     hours.

  8                  So what I will do, since, Mr. Quinn, it

  9     sounds like you're not prepared in the moment to

 10     decide whether you need all four of these people,

 11     I'm just going to give you a number of hours in

 12     which to depose the four individuals.          And you

 13     choose whether it's all four or less than four and

 14     how you allocate that.       I will leave it up to you.

 15     But I will grant the plaintiffs eight hours total to

 16     depose the four additional witnesses -- I'm just

 17     checking their names -- Mr. Plum, Ms. Richardson,

 18     Mr. Berringer and Ms. Davis.

 19                  And, you know, given that it doesn't

 20     affect -- doesn't seem to affect the summary

 21     judgment schedule, I think giving the parties 30

 22     days to get that done is reasonable.          But obviously

 23     this -- these are non-party witnesses that we're

 24     talking about, and so, you know, if because of those

 25     witnesses' availability we can't get it done in 30


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  1     days, I'll be reasonable about giving a little bit

  2     more time to do that.       But, otherwise, I think we

  3     should try to get this done in short order so that

  4     we have everything ready as soon as Judge Schofield

  5     issues her decision as to summary judgment, and we

  6     have everything in front of us when we're

  7     preparing -- when all of you are preparing for

  8     trial.

  9                  Is all that clear, Mr. Quinn?

 10                  MR. QUINN:     Very clear, Your Honor, and

 11     very much appreciated.

 12                  THE COURT:     Okay.   Okay.    All right.

 13                  Mr. Shapiro, any clarifications?

 14                  MR. SHAPIRO:     Yeah, I do have one request

 15     in regard to that.

 16                  THE COURT:     Okay.

 17                  MR. SHAPIRO:     And that is, you know,

 18     obviously, Mr. Quinn is correct, as you confirmed,

 19     that there's no right to put in any further briefing

 20     on the plaintiffs' part on summary judgment.            My

 21     concern is that notwithstanding that, once these

 22     depositions are taken, we'll see a letter saying,

 23     please grant us leave to put in something

 24     supplemental because we got this great testimony

 25     from these non-party witnesses.


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  1                   And, again, I think that would be even

  2     more prejudiced from allowing this.           So I would ask

  3     for, you know, a preemptive ruling that no such

  4     application should be made and it won't be

  5     entertained if it is made.

  6                   THE COURT:     Okay.     Well, you know I can't

  7     do that.    The summary judgment motion is not before

  8     me.    That's in front of Judge Schofield.         So if

  9     she's -- if she's decided what the briefing schedule

 10     is for that and what's submitted and what's not

 11     submitted, so if you want to make an application to

 12     her, that's fine, but it is not a question for me to

 13     be making that preclusive ruling as to what

 14     Judge Schofield will or will not accept on summary

 15     judgment.     So...

 16                   MR. SHAPIRO:     Understood.

 17                   THE COURT:     So I understand, but I can't

 18     make that ruling.        So -- okay.

 19                   Mr. Quinn, anything further that we

 20     should talk about today?

 21                   MR. QUINN:     Just one additional thing,

 22     Your Honor.     The --

 23                   THE COURT:     Sure.

 24                   MR. QUINN:     One aspect of our request

 25     related to a further request to serve a document


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  1     subpoena on ACN for these folks' IBO files.

  2                   THE COURT:     Yes.     Yes.

  3                   MR. QUINN:     It appeared from defendants'

  4     discovery efforts that there's some way to do that,

  5     and so we would target it at just that, but we would

  6     request that as well.

  7                   THE COURT:     Yeah, I'm going to deny that

  8     now.     If the witnesses say something in their

  9     deposition that gives you good cause to renew that

 10     request, you could do that.           But I'm going to deny

 11     that without prejudice.        I want to just focus on

 12     these witnesses, get their depositions done, and

 13     hopefully we can all move on; okay?

 14                   MR. QUINN:     Understood.      Thank you,

 15     Your Honor.

 16                   THE COURT:     All right.      Thank you.

 17                   Mr. Shapiro, anything further on your

 18     side today, then?

 19                   MR. SHAPIRO:     Nothing further.      Thank

 20     you.

 21                   THE COURT:     Okay.     Thank you very much.

 22     Have a good day, everyone.           We'll be adjourned.

 23                   MR. SHAPIRO:     Bye-bye.

 24

 25                                   0o0


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  1                        C E R T I F I C A T E

  2

  3             I, Adrienne M. Mignano, certify that the

  4     foregoing transcript of proceedings in the case of

  5     Catherine McKoy v. The Trump Corporation,

  6     Docket #18-cv-9936 was prepared using digital

  7     transcription software and is a true and accurate

  8     record of the proceedings.

  9

 10

 11     Signature     ___________________________

 12                    ADRIENNE M. MIGNANO, RPR

 13

 14     Date:         June 23, 2023

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